                                                                        FORM 1
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                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                     ASSET CASES

 Case No.:                      16-00141                                                             Trustee Name:                          Laura J. Genovich
 Case Name:                     BRINKMEYER, SCOTT S. AND BRINKMEYER, CAROL B.                        Date Filed (f) or Converted (c):       01/14/2016 (f)
 For the Period Ending:         12/31/2018                                                           §341(a) Meeting Date:                  02/26/2016
                                                                                                     Claims Bar Date:                       07/12/2016
                            1                             2                    3                               4                        5                        6
                   Asset Description                  Petition/             Estimated Net Value            Property                Sales/Funds            Asset Fully
                    (Scheduled and                  Unscheduled            (Value Determined by            Abandoned               Received by           Administered
               Unscheduled (u) Property)               Value                      Trustee,           OA =§ 554(a) abandon.          the Estate               (FA)/
                                                                          Less Liens, Exemptions,                                                        Gross Value of
                                                                             and Other Costs)                                                             Remaining

 Ref. #
1       Misc. household goods and                             $4,000.00                      $0.00                                           $0.00                   FA
        furnishings (no single item worth
        over $575.00)
2       3 TVs, 2 cell phones, 2 laptops, 1                     $500.00                       $0.00                                           $0.00                   FA
         iPad, 2 DVD players, and stereo
         system
3        Art prints and wooden boat                            $600.00                       $0.00                                           $0.00                   FA
         displays
4        2 Golf club sets , 2 sets of skis, 5                  $200.00                       $0.00                                           $0.00                   FA
         pairs of snow shoes, and tennis
         racquets
5        Misc. clothing                                        $600.00                       $0.00                                           $0.00                   FA
6        Misc. clothing                                        $600.00                       $0.00                                           $0.00                   FA
7        Wedding rings, watches, earrings,                    $1,000.00                      $0.00                                           $0.00                   FA
         necklaces, bracelets and misc.
         costume jewelry
8        Cash                                                   $50.00                       $0.00                                           $0.00                   FA
9        Checking: Fidelity                                    $200.00                       $0.00                                           $0.00                   FA
10       Checking: Fidelity                                    $159.00                       $0.00                                           $0.00                   FA
11       Checking: JPMorgan Chase                             $2,633.00                      $0.00                                           $0.00                   FA
12       IRA: Fidelity [*4126]                            $38,805.00                         $0.00                                           $0.00                   FA
13       IRA: Fidelity [*3185]                                $8,001.00                      $0.00                                           $0.00                   FA
14       IRA: Fidelity [*8406]                                $6,089.00                      $0.00                                           $0.00                   FA
15       Anticipated 2015 Tax Refunds -                           $0.00                      $0.00                                           $0.00                   FA
         Debtors do not anticipate any
         refunds; Debtors expect to owe
16       2008 Lexus ES                                        $9,000.00                      $0.00                                           $0.00                   FA
         100,000 MILES
17       2007 BMW X5                                          $8,500.00                  $8,500.00                                           $0.00                   FA
         135,000 MILES
18       2005 GEM E4                                           $500.00                     $250.00                                           $0.00                   FA
         golf cart
19       Checking: Fidelity Cash                                  $0.00                      $0.00                                           $0.00                   FA
         Management
         Account - no balance
20       Share of lawsuit proceeds from                       Unknown                    $4,851.50                                      $69,055.00                   FA
         pending U.S. District Court
         case being handled by Mika,
         Meyers, Beckett & Jones (debtor
         husband's employer) [case is on
         appeal to 6th Cir.]
21       Term Life Insurance Policy:                              $0.00                      $0.00                                           $0.00                   FA
         Lincoln
         Financial Group - no cash value
         Wife: Carol Brinkmeyer

                                                                                              SUBTOTALS                    $0.00                     $0.00
                                                                             FORM 1
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                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES

Case No.:                     16-00141                                                                        Trustee Name:                            Laura J. Genovich
Case Name:                    BRINKMEYER, SCOTT S. AND BRINKMEYER, CAROL B.                                   Date Filed (f) or Converted (c):         01/14/2016 (f)
For the Period Ending:        12/31/2018                                                                      §341(a) Meeting Date:                    02/26/2016
                                                                                                              Claims Bar Date:                         07/12/2016
                          1                                    2                      3                                 4                          5                       6
                   Asset Description                      Petition/               Estimated Net Value              Property                Sales/Funds               Asset Fully
                    (Scheduled and                      Unscheduled              (Value Determined by              Abandoned               Received by              Administered
               Unscheduled (u) Property)                   Value                        Trustee,             OA =§ 554(a) abandon.          the Estate                  (FA)/
                                                                                Less Liens, Exemptions,                                                             Gross Value of
                                                                                   and Other Costs)                                                                  Remaining

22      6756 Cottage Ct.                                      $250,000.00                           $0.00                                               $0.00                   FA
        Petoskey, MI - 49770-0000
        Emmet County


TOTALS (Excluding unknown value)                                                                                                             Gross Value of Remaining Assets
                                                             $331,437.00                      $13,601.50                                         $69,055.00                    $0.00



 Major Activities affecting case closing:
  01/10/2019     01/10/2019: Prepare motion to allow payment of IRS and State taxes due. JY
  12/06/2018     12/06/2018: Andy Mitchell to send 1099 to debtor for exempt monies paid. JY
  12/06/2018     12/06/2018: Approx. $20k additional funds to be paid soon.
  07/26/2018     07/26/2018: Will need tax returns - employ Andy Mitchell
  07/20/2018     07/24/2018: Send Forms 1 and 2 to Andy Mitchell to review for tax return. JY
  07/20/2018     07/13/2018: Got $$ from Mika Myers.
  07/12/2018     07/12/2018: Employ FSCS
  07/10/2018     heard from debtor re amount of settlement funds he is to receive
  07/10/2018     Mika Myers attorney e-mailed that they are ready to send out the settlement proceeds to the bankruptcy estate
  06/19/2018     06/12/2018: Send email to Debtor's attorney requesting update. JY
  12/22/2017     12/22/2017: Send email to Ryan Beach requesting update. (PER CLIENT: NO UPDATE ON LAWSUIT).
  06/08/2017     06/08/2017: Telephone call and email to Ryan Beach regarding status. JY
  10/21/2016     10/21/2016: Send follow up to attorney Beach.
  04/08/2016     04/08/2016: Filed Form 1 and NPD. JY
  04/08/2016     04/08/2016: Email to DA requesting he keep us apprised of status of lawsuit, keeping case open. JY
  02/26/2016     MONITOR FEDERAL LAWSUIT. LJG


 Initial Projected Date Of Final Report (TFR):             12/31/2019                                 /s/ LAURA J. GENOVICH
 Current Projected Date Of Final Report (TFR):             12/31/2019                                 LAURA J. GENOVICH
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                                                                             FORM 2
                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       16-00141                                                                      Trustee Name:                           Laura J. Genovich
Case Name:                     BRINKMEYER, SCOTT S. AND BRINKMEYER, CAROL B.                                 Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:         **-***1895                                                                    Checking Acct #:                        ******0265
Co-Debtor Taxpayer ID #:       **-***1896                                                                    Account Title:                          Checking

For Period Beginning:          07/01/2018                                                                    Blanket bond (per case limit):          $2,000,000.00
For Period Ending:             12/31/2018                                                                    Separate bond (if applicable):


     1                 2                  3                                        4                                             5                   6                   7

Transaction        Check /             Paid to/              Description of Transaction                  Uniform              Deposit           Disbursement         Balance
   Date             Ref. #          Received From                                                       Tran Code               $                    $


07/13/2018           (20)    MIKA MEYERS                     DEBTOR'S SHARE OF                          1149-000              $48,144.00                  $0.00          $48,144.00
                             BECKETT & JONES                 PROCEEDS FROM PRIOR
                                                             EMPLOYER/LAW FIRM
07/17/2018         1001      Scott S. Brinkmeyer             Debtor's exempted portion of               8100-002                     $0.00          $5,148.50            $42,995.50
                                                             lawsuit proceeds
07/31/2018                   Pinnacle Bank                   Pinnacle Analysis                          2600-000                     $0.00               $53.28          $42,942.22
08/31/2018                   Pinnacle Bank                   Pinnacle Analysis                          2600-000                     $0.00               $69.30          $42,872.92
12/12/2018           (20)    MIKA MEYERS                     DEBTOR'S SHARE OF                          1149-000              $20,911.00                  $0.00          $63,783.92
                             BECKETT & JONES                 PROCEEDS FROM PRIOR
                                                             EMPLOYER/LAW FIRM

                                                   TOTALS:                                                                    $69,055.00            $5,271.08                $63,783.92
                                                       Less: Bank transfers/CDs                                                    $0.00                $0.00
                                                   Subtotal                                                                   $69,055.00            $5,271.08
                                                       Less: Payments to debtors                                                   $0.00            $5,148.50
                                                   Net                                                                        $69,055.00              $122.58




For the period of 07/01/2018 to 12/31/2018                                For the entire history of the account between 07/11/2018 to 12/31/2018

Total Compensable Receipts:                              $69,055.00      Total Compensable Receipts:                                    $69,055.00
Total Non-Compensable Receipts:                               $0.00      Total Non-Compensable Receipts:                                     $0.00
Total Comp/Non Comp Receipts:                            $69,055.00      Total Comp/Non Comp Receipts:                                  $69,055.00
Total Internal/Transfer Receipts:                             $0.00      Total Internal/Transfer Receipts:                                   $0.00


Total Compensable Disbursements:                            $122.58      Total Compensable Disbursements:                                      $122.58
Total Non-Compensable Disbursements:                      $5,148.50      Total Non-Compensable Disbursement                                  $5,148.50
Total Comp/Non Comp Disbursements:                        $5,271.08      Total Comp/Non Comp Disbursement                                    $5,271.08
Total Internal/Transfer Disbursements:                        $0.00      Total Internal/Transfer Disbursements:                                  $0.00
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                                                                        FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       16-00141                                                                 Trustee Name:                       Laura J. Genovich
Case Name:                     BRINKMEYER, SCOTT S. AND BRINKMEYER, CAROL B.                            Bank Name:                          Pinnacle Bank
Primary Taxpayer ID #:         **-***1895                                                               Checking Acct #:                    ******0265
Co-Debtor Taxpayer ID #:       **-***1896                                                               Account Title:                      Checking

For Period Beginning:          07/01/2018                                                               Blanket bond (per case limit):      $2,000,000.00
For Period Ending:             12/31/2018                                                               Separate bond (if applicable):


     1                2                   3                                4                                               5                6                   7

Transaction        Check /             Paid to/         Description of Transaction                  Uniform              Deposit       Disbursement         Balance
   Date             Ref. #          Received From                                                  Tran Code               $                $


                                                                                                                             NET               NET               ACCOUNT
                                                     TOTAL - ALL ACCOUNTS                                                DEPOSITS         DISBURSE              BALANCES

                                                                                                                      $69,055.00          $5,271.08                 $63,783.92




For the period of 07/01/2018 to 12/31/2018                          For the entire history of the account between 07/11/2018 to 12/31/2018

Total Compensable Receipts:                         $69,055.00      Total Compensable Receipts:                                    $69,055.00
Total Non-Compensable Receipts:                          $0.00      Total Non-Compensable Receipts:                                     $0.00
Total Comp/Non Comp Receipts:                       $69,055.00      Total Comp/Non Comp Receipts:                                  $69,055.00
Total Internal/Transfer Receipts:                        $0.00      Total Internal/Transfer Receipts:                                   $0.00


Total Compensable Disbursements:                       $122.58      Total Compensable Disbursements:                                  $122.58
Total Non-Compensable Disbursements:                 $5,148.50      Total Non-Compensable Disbursements:                            $5,148.50
Total Comp/Non Comp Disbursements:                   $5,271.08      Total Comp/Non Comp Disbursements:                              $5,271.08
Total Internal/Transfer Disbursements:                   $0.00      Total Internal/Transfer Disbursements:                              $0.00
